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14

15                                  UNITED STATES DISTRICT COURT

16                               NORTHERN DISTRICT OF CALIFORNIA

17    CHERYL CHARLES,                                  )   Case No. 4:20-cv-07854-HSG
                                                       )
18                             Plaintiff,              )   STIPULATION AND ORDER TO
                                                       )   EXTEND DATE COMPLETION
19           v.                                        )   OF EXPERT DISCOVERY
                                                       )
20    TARGET CORPORATION,                              )
      and DOES 1 to 50, Inclusive,                     )
21                                                     )
                               Defendants.             )
22                                                     )
                                                       )
23                                                     )

24          Plaintiff CHERYL CHARLES and Defendant TARGET CORPORATION, through their
25   respective counsel, stipulate and respectfully request this Court to extend the deadline set forth in
26   the Scheduling Order (Doc 41) for Close of Expert Discovery from June 16, 2022 to June 24,
27   2022. The parties have been working diligently to schedule expert depositions but have been
28   unable to do so due to conflicting calendars by the current deadline.
     Charles v. Target Corporation, Case No. 4:20-cv-07854-HSG
     STIPULATION AND ORDER TO EXTEND DATE CLOSE OF EXPERT DISCOVERY
                                                           -1-
      Case 4:20-cv-07854-HSG Document 59 Filed 05/31/22 Page 2 of 2




 1            SO STIPULATED.

 2   Dated: May 27, 2022                           VAZIRI LAW GROUP, A.P.C.

 3

 4                                                        /s/ Matt Taylor
                                                   By
 5                                                        Matthew M. Taylor
                                                          Attorneys for Plaintiff
 6
                                                          CHERYL CHARLES
 7

 8
     Dated: May 27, 2022                           LIVINGSTON LAW FIRM
 9
10
                                                          /s/ Renée Welze Livingston
11                                                 By
                                                          Renée Welze Livingston
12                                                        Attorneys for Defendant
                                                          TARGET CORPORATION
13

14                                                ORDER

15            The parties stipulate to extend the deadline to complete expert discovery. Good cause

16   appearing, the Court hereby GRANTS the stipulation of the parties and ORDERS as follows:

17            1. Close of Expert Discovery shall be extended to June 24, 2022.

18            IT IS SO ORDERED.

19                  5/31/2022
     Dated:
20

21                                                 Haywood S. Gilliam, Jr.
                                                   United States District Judge
22

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     Charles v. Target Corporation, Case No. 4:20-cv-07854-HSG
     STIPULATION AND ORDER TO EXTEND DATE CLOSE OF EXPERT DISCOVERY
                                                           -2-
